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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF KENTUCKY
                              LOUISVILLE DIVISION
                           CASE NO. 3:23-CR-00061-DJH
                                Electronically Filed

UNITED STATES OF AMERICA                                                        PLAINTIFF

V.                     MARKUS STILLWELL’S UNOPPOSED
                         MOTION TO CONTINUE TRIAL

MARKUS STILLWELL                                                             DEFENDANT

      Markus Stillwell, by counsel, respectfully requests the Court to continue the

trial in his case, currently scheduled to begin on January 16, 2024. A Superseding

Indictment was recently returned in the case.

      Undersigned counsel has discussed the requested delay with the government

and counsel for the co-defendant and they do not object to a continuance.

      WHEREFORE, this Court is respectfully requested to enter the attached Order.

                                                 RESPECTFULLY SUBMITTED,

                                                 /S/ JOHN CASEY MCCALL
                                                 JOHN CASEY MCCALL
                                                 600 West Main Street, Suite 300
                                                 Louisville, Kentucky 40202
                                                 (502) 589-6190

                             CERTIFICATE OF SERVICE

      It is hereby certified that the foregoing was electronically filed with the clerk of

the court by using the CM/ECF system, which will send a notice of electronic filing to all

attorneys of record.
                                                 /s/ John Casey McCall
                                                 John Casey McCall
